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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION


SINGLEOPS, LLC,
                                              Civil Action No.:
       Plaintiffs,                            1:20-CV-04701-MLB

v.

SERVICETITAN, INC.,

       Defendants.


                           NOTICE OF SETTLEMENT

       COME NOW, Plaintiff SingleOps, LLC and Defendant ServiceTitan, Inc.

(collectively, the “Parties”), by and through the undersigned counsel, hereby file this

Notice of Settlement. The Parties, through informal negotiation, have reached a

settlement agreement in principle on February 23, 2021. Once the Settlement

Agreement has been executed and the conditions of the agreement have been

satisfied, Plaintiff SingleOps will file the appropriate notice or motion dismissing

the instant suit.

       Therefore, the Parties respectfully move the Court to stay the instant case

based upon the Parties’ settlement agreement.




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     Respectfully submitted this 25th day of February, 2021.

BAKER, DONELSON,                       GORDON REES SCULLY
BEARMAN, CALDWELL                      MANSUKHANI, LLP
& BERKOWITZ, PC

/s/ David Gevertrz                     /s/ Chad A. Shultz
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                                            CERTIFICATE OF SERVICE
                        I hereby certify that I have this 25th day of February, 2021, I filed the within

                  and foregoing pleading with the Clerk of Court using the CM/ECF system which

                  will send a copy to all parties of record.


                                                                   /s/ Chad A. Shultz
                                                                   Counsel




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